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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 MICHAEL R. McEVOY and CINDY                     §
 P. McEVOY,                                      §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §            CAUSE NO. EP-21-CV-262-KC
                                                 §
 JENKINS, WAGNON & YOUNG,                        §
 P.C.,                                           §
                                                 §
      Defendant.                                 §


                                              ORDER

         On this day, the Court sua sponte considered the above-captioned case. On January 27,

2022, the parties informed the Court that they had reached a settlement agreement. ECF No. 10.

The Court ordered that, unless the parties submitted final closing papers on or before March 14,

2022, the Court would dismiss the case “without costs and without prejudice to the rights of any

party thereto to move within thirty days thereafter to reopen if settlement has not, in fact, been

consummated.” ECF No. 11.

         March 14, 2022, has now passed, and the parties have not submitted final closing papers

to the Court. Accordingly, it is hereby ORDERED that all of Plaintiff’s claims in this case are

DISMISSED, but without prejudice to the rights of any party to move to reopen on or before

April 15, 2022, if settlement has not, in fact, been consummated.

         The Clerk shall close the case.
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SO ORDERED.

SIGNED on this 16th day of March, 2022.




                           KATHLEEN CARDONE
                           UNITED STATES DISTRICT JUDGE
